             Case 22-11068-KBO             Doc 29196   Filed 01/10/25      Page 1 of 21




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

FTX TRADING LTD., et al., 1                            Case No. 22-11068 (JTD)

         Debtors.                                      (Jointly Administered)

                                                       Hearing Date: April 17, 2025 at 10:00 a.m. (ET)
                                                       Objection Deadline: January 31, 2025 at 4:00 p.m. (ET)

                        FINAL FEE APPLICATION OF
    QUINN EMANUEL URQUHART & SULLIVAN, LLP FOR SERVICES RENDERED
         AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
        NOVEMBER 13, 2022 THROUGH AND INCLUDING OCTOBER 8, 2024

Name of Applicant                                  Quinn Emanuel Urquhart & Sullivan, LLP
Authorized to Provide Professional Services to:    Debtors and Debtors-in-Possession
                                                   January 20, 2023 nunc pro tunc to
Date of Retention:
                                                   November 13, 2022
Period for which compensation and                  November 13, 2022 through and including
reimbursement is sought:                           October 8, 2024
Amount of Final Compensation sought as
                                                   $49,586,712.29
actual, reasonable, and necessary:
Amount of Final Expense Reimbursement
                                                   $84,385.32
sought as actual, reasonable, and necessary:
Blended rate in this application for all
                                                   $1,093.13
attorneys:
Blended rate in this application for all
                                                   $1,088.55
timekeepers:

The total time expended prior to the Confirmation Date for fee application preparation for the Final
Fee Application is 0 hours and the corresponding compensation requested is $0.

1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these
    Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s,
    Antigua and Barbuda.
                     Case 22-11068-KBO       Doc 29196          Filed 01/10/25   Page 2 of 21




                         PRIOR FEE STATEMENTS AND APPLICATIONS FILED

                                         Requested       Requested         Approved       Approved
Date Filed        Period Covered                                                                       Fee Order
                                           Fees          Expenses            Fees 2       Expenses
               Petition Date through
02/07/2023     and including            $1,536,294.15         $4,323.07
               December 31, 2022
               January 1, 2023
03/06/2023     through and including    $1,440,414.90         $1,920.53                                6/28/2023
                                                                          $2,907,139.18    $5,632.62
               January 31, 2023                                                                        D.I. 1794
3/17/2023
               November 13, 2022
(First
               through and including    $2,976,709.05         $6,243.60
Interim)
               January 31, 2023
[D.I. 1117]
               February 1, 2023
04/07/2023     through and including    $2,781,198.90         $2,580.91
               February 28, 2023
               March 1, 2023 through
05/01/2023     and including March      $3,192,717.60         $3,031.19
               31, 2023
                                                                                                       9/13/2023
               April 1, 2023 through                                      $8,111,186.00    $4,176.13
                                                                                                       D.I. 2506
6/06/2023      and including April      $2,282,269.50         $3,382.59
               30, 2023
6/15/2023
               February 1, 2023
(Second
               through and including    $8,256,186.00         $8,994.69
Interim)_
               April 30, 2023
[D.I. 1648]
               May 1, 2023 through
7/03/2023      and including May 31,    $2,441,227.95         $1,802.88
               2023
               June 1, 2023 through
7/31/2023      and including June 30,   $2,984,443.42    $10,858.66
               2023
                                                                                                       12/12/2023
               July 1, 2023 through                                       $9,839,020.82   $21,479.53
                                                                                                        D.I. 4622
9/06/2023      and including July 31,   $4,538,349.45    $10,027.36
               2023
9/15/2023
               May 1, 2023 through
(Third
               and including July 31,   $9,964,020.82    $22,688.90
Interim)
               2023
[D.I. 2531]




         2
              Approved amounts reflect Quinn Emanuel’s agreed reductions with the Fee Examiner.

                                                        -2-
                    Case 22-11068-KBO       Doc 29196          Filed 01/10/25   Page 3 of 21




                                        Requested       Requested         Approved        Approved
Date Filed      Period Covered                                                                         Fee Order
                                          Fees          Expenses            Fees 2        Expenses
              August 1, 2023
9/29/2023     through and including    $3,462,251.40         $1,007.71
              August 31, 2023
              September 1, 2023
10/31/2023    through and including    $3,425,488.20         $3,446.41
              September 30, 2023
                                                                                                       3/19/2024
              October 1, 2023                                            $10,328,893.60    $7,465.37
                                                                                                       D.I. 9706
11/29/2023    through and including    $3,581,154.00         $4,211.31
              October 31, 2023
12/15/2023
              August 1, 2023
(Fourth
              through and including   $10,468,893.60         $8,665.43
Interim)
              October 31, 2023
[D.I. 4850]
              November 1, 2023
12/22/2023    through and including    $3,381,008.40         $1,416.74
              November 30, 2023
              December 1, 2023
01/31/2024    through and including    $2,384,282.70         $9,126.44
              December 31, 2023
                                                                                                       6/17/2024
              January 1, 2024                                             $7,425,521.65   $11,944.07
                                                                                                       D.I. 17787
2/29/2024     through and including    $1,785,230.55         $2,510.14
              January 31, 2024
3/15/2024
              November 1, 2023
(Fifth
              through and including    $7,550,521.65    $13,053.32
Interim)
              January 31, 2024
[D.I. 9543]
              February 1, 2024
3/28/2024     through and including    $1,478,179.35         $1,626.66
              February 29, 2024
              March 1, 2024 through
4/26/2024     and including March      $1,881,348.07         $5,378.05
              31, 2024
                                                                                                       9/11/2024
              April 1, 2024 through                                       $4,547,885.47   $15,547.57
                                                                                                       D.I. 24510
5/31/2024     and including April      $1,248,358.05         $8,888.27
              30, 2024
6/14/2024
             February 1, 2024
(Sixth
             through and including     $4,607,885.47    $15,892.98
Interim)
             April 30, 2024
[D.I. 17694]




                                                       -3-
                   Case 22-11068-KBO       Doc 29196          Filed 01/10/25   Page 4 of 21




                                      Requested        Requested         Approved        Approved
Date Filed      Period Covered                                                                        Fee Order
                                        Fees           Expenses            Fees 2        Expenses
             May 1, 2024 through
7/5/2024     and including May 31,    $1,582,704.90         $6,017.08
             2024
             June 1, 2024 through
7/31/2024    and including June 30,    $824,760.45          $1,827.58
             2024
                                                                                                      12/12/2024
             July 1, 2024 through                                        $3,251,385.05    $7,998.83
                                                                                                      D.I. 28742
8/29/2024    and including July 31,    $883,919.70           $167.01
             2024
9/13/2024
              May 1, 2024 through
(Seventh
              and including July 31,  $3,291,385.05    $8,011.67
Interim)
              2024
[D.I. 24754]
              August 1, 2024
9/30/2024     through and including   $1,070,063.55       $74.60
              August 31, 2024
              September 1, 2024
10/31/2024 through and including      $1,138,899.15      $503.17
              September 30, 2024
              October 1, 2024                                                  Pending     Pending       n/a
11/15/2024 through and including        $262,147.95      $256.96
              October 8, 2024
12/16/2024
              August 1, 2024
(Eighth
              through and including   $2,471,110.65      $834.73
Interim)
              October 8, 2024
[D.I. 28847]
Total fees and expenses approved by interim orders to date:             $46,411,031.77   $74,244.12




                                                      -4-
                     Case 22-11068-KBO   Doc 29196      Filed 01/10/25   Page 5 of 21




                    SUMMARY OF FEES BY INDIVIDUAL FOR THE FINAL FEE PERIOD
                   (NOVEMBER 13, 2022 THROUGH AND INCLUDING OCTOBER 8, 2024)

                                                    Year of                     Total
                                          Year of                   Hourly                  Total
   Timekeeper Name           Position              Law School                   Hours
                                         Admission                   Rate                Compensation
                                                   Graduation                   Billed
                                                                   $1,917.00      840.50 $1,611,238.50
K. John Shaffer           Partner          1991          1989
                                                                   $2,025.00      200.10   $405,202.50
Thomas Werlen             Partner          1991          1989      $1,777.50        1.00     $1,777.50
                                                                   $1,917.00        8.60    $16,486.20
John B. Quinn             Partner          1978          1976
                                                                   $2,025.00        5.30    $10,732.50
                                                                   $1,917.00      215.30   $412,730.10
William A. Burck          Partner          2001          1998
                                                                   $2,025.00       70.00   $141,750.00
                                                                   $1,593.00    1,307.70 $2,083,166.10
Sascha Rand               Partner          1998          1997      $1,678.50    1,019.80 $1,711,734.30
                                                                   $1,795.50      112.90   $202,711.95
                                                                   $1,917.00      465.20   $891,788.40
Sam Williamson            Partner          2001          2000
                                                                   $2,025.00       89.90   $182,047.50
                                                                   $1,593.00      830.40 $1,322,827.20
Katherine Lemire          Partner          1998          1997      $1,678.50      388.30   $651,761.55
                                                                   $1,795.50       40.90    $73,435.95
Michael Barlow            Partner          2000          2000      $1,678.50        3.00     $5,035.50
                                                                   $1,917.00        7.40    $14,185.80
Richard East              Partner          1997          1995
                                                                   $2,025.00        9.00    $18,225.00
                                                                   $1,593.00      143.40   $228,436.20
Jonathan Pickhardt        Partner          2000          1998
                                                                   $1,678.50        5.80     $9,735.30
John Rhie                 Partner          2003          2000      $1,593.00        1.30     $2,070.90
Benjamin Finestone        Partner          2005          2004      $1,440.00       10.40    $14,976.00
                                                                   $1,440.00      418.90   $603,216.00
Anthony Alden             Partner          2004          2003      $1,561.50      547.80   $855,389.70
                                                                   $1,669.50       32.80    $54,759.60
                                                                   $1,440.00      226.30   $325,872.00
Isaac Nesser              Partner          2003          2003      $1,521.00       60.30    $91,716.30
                                                                   $1,629.00       15.00    $24,435.00
                                                                   $1,440.00      155.90   $224,496.00
Robert Zink               Partner          2006          2005
                                                                   $1,521.00       59.40    $90,347.40
Avi Perry                 Partner          2012          2010      $1,431.00       18.10    $25,901.10
Andrew S. Corkhill        Partner          2007          2006      $1,422.00        6.90     $9,811.80
                                                                   $1,440.00      113.50   $163,440.00
Eric D. Winston           Partner          1999          1998
                                                                   $1,561.50       10.30    $16,083.45
                                                                   $1,318.50      570.40   $752,072.40
Matthew R. Scheck         Partner          2008          2007      $1,422.00      500.20   $711,284.40
                                                                   $1,561.50       37.90    $59,180.85
                                                                   $1,318.50       96.50   $127,235.25
Elinor C. Sutton          Partner          2008          2007
                                                                   $1,422.00       76.60   $108,925.20



                                                  -5-
                    Case 22-11068-KBO   Doc 29196      Filed 01/10/25   Page 6 of 21




                                                   Year of                     Total
                                         Year of                   Hourly                   Total
  Timekeeper Name           Position              Law School                   Hours
                                        Admission                   Rate                Compensation
                                                  Graduation                   Billed
K. McKenzie Anderson     Partner          2008       2007         $1,422.00       17.00     $24,174.00
Michael Shaheen          Partner          2010       2009         $1,318.50      181.10    $238,780.35
                                                                  $1,246.50      654.90    $816,332.85
Emily Kapur              Partner          2015          2015      $1,354.50      408.30    $553,042.35
                                                                  $1,480.50       31.40     $46,487.70
Blair Adams              Partner          2014          2013      $1,246.50       36.20     $45,123.30
                                                                  $1,246.50       63.60     $79,277.40
William Sears            Partner          2015          2014      $1,354.50      174.60    $236,495.70
                                                                  $1,480.50        0.30        $444.15
                                                                  $1,354.50       15.60     $21,130.20
Jason Sternberg          Partner          2009          2009
                                                                  $1,480.50        0.20        $296.10
Partner Total                                                                 10,306.20 $16,317,805.50
                                                                  $1,215.00    1,158.50 $1,407,577.50
Andrew Kutscher          Counsel          2010          2009      $1,296.00      742.20    $961,891.20
                                                                  $1,413.00       76.20    $107,670.60
                                                                  $1,296.00       51.50     $66,744.00
Heather K. Christenson   Counsel          2014          2013
                                                                  $1,413.00       11.90     $16,814.70
                                                                  $1,215.00      547.60    $665,334.00
Tyler Murray             Counsel          2001          2000      $1,296.00      713.80    $925,084.80
                                                                  $1,413.00       67.20     $94,953.60
                                                                  $1,215.00      124.60    $151,389.00
Kurt Wolfe               Counsel          2007          2006
                                                                  $1,296.00        8.90     $11,534.40
                                                                  $1,215.00      370.60    $450,279.00
K. McKenzie Anderson     Counsel          2008          2007
                                                                  $1,296.00      223.10    $289,137.60
                                                                  $1,215.00      132.90    $161,473.50
Jennifer Gindin          Counsel          2014          2014
                                                                  $1,296.00       52.90     $68,558.40
Asia Lenard              Counsel          2003          2001      $1,296.00        0.20        $259.20
Robert True              Counsel          2007          2006      $1,296.00       10.00     $12,960.00
                                                                  $1,215.00      295.60    $359,154.00
Marina E. Lev            Counsel          2013          2012      $1,296.00      180.40    $233,798.40
                                                                  $1,413.00       53.90     $76,160.70
Counsel Total                                                                  4,822.00 $6,060,774.60
                                                                  $1,336.50       80.10    $107,053.65
Alex Nelder              Associate        2012          2011      $1,413.00      126.60    $178,885.80
                                                                  $1,453.50       18.60     $27,035.10
Anna Parfjonova          Associate        2014          2012      $1,413.00       34.20     $48,324.60
Razmig Izakelian         Associate        2013          2013      $1,183.50       43.50     $51,482.25
Emily Kapur              Associate        2015          2015      $1,174.50        2.60      $3,053.70
                                                                  $1,183.50      628.10    $743,356.35
Justine Young            Associate        2014          2013      $1,251.00      491.60    $614,991.60
                                                                  $1,363.50        4.70      $6,408.45
Joanna Menillo           Associate        2015          2015      $1,251.00       66.80     $83,566.80



                                                 -6-
                     Case 22-11068-KBO   Doc 29196      Filed 01/10/25   Page 7 of 21




                                                    Year of                     Total
                                          Year of                   Hourly                  Total
   Timekeeper Name          Position               Law School                   Hours
                                         Admission                   Rate                Compensation
                                                   Graduation                   Billed
                                                                   $1,183.50       94.60   $111,959.10
Anil Makhijani           Associate         2013          2012      $1,251.00      216.90   $271,341.90
                                                                   $1,363.50       18.00    $24,543.00
Heather K. Christenson   Associate         2014          2013      $1,251.00      123.10   $153,998.10
                                                                   $1,143.00      739.10   $844,791.30
Jaclyn Palmerson         Associate         2016          2016      $1,246.50      734.30   $915,304.95
                                                                   $1,363.50       94.60   $128,987.10
                                                                   $1,210.50      440.40   $533,104.20
Isaac Saidel-Goley       Associate         2017          2017
                                                                   $1,359.00       52.80    $71,755.20
Ben Odell                Associate         2010          2010      $1,183.50       47.40    $56,097.90
                                                                   $1,174.50       49.40    $58,020.30
Nicholas Inns            Associate         2010          2010
                                                                   $1,251.00        4.20     $5,254.20
Ari Roytenberg           Associate         2017          2016      $1,143.00       75.30    $86,067.90
                                                                   $1,143.00      121.80   $139,217.40
Meredith Mandell         Associate         2017          2016
                                                                   $1,246.50       75.90    $94,609.35
                                                                   $1,048.50       40.20    $42,149.70
Abbey Foote              Associate         2018          2018      $1,174.50      235.80   $276,947.10
                                                                   $1,318.50        5.40     $7,119.90
                                                                   $1,120.50      539.40   $604,397.70
Miao Xu                  Associate         2016          2015
                                                                   $1,255.50       15.50    $19,460.25
                                                                     $841.50    1,431.00 $1,204,186.50
                                                                     $985.50      205.40   $202,421.70
Sophie Hill              Associate         2021          2020
                                                                   $1,075.50    2,150.30 $2,312,647.65
                                                                   $1,255.50      101.70   $127,684.35
                                                                   $1,048.50      331.90   $347,997.15
Peter Collins            Associate         2020          2018
                                                                   $1,174.50       13.50    $15,855.75
                                                                   $1,107.00      156.90   $173,688.30
Max Meadows              Associate         2016          2015
                                                                   $1,210.50        1.20     $1,452.60
Jonas Hertner            Associate         2016          2015      $1,188.00        3.70     $4,395.60
Jared Dummitt            Associate         2019          2018      $1,048.50       61.50    $64,482.75
Dominique Le Miere       Associate         2017          2016      $1,174.50       92.00   $108,054.00
                                                                   $1,143.00      454.80   $519,836.40
Andrew Sutton            Associate         2017          2016
                                                                   $1,246.50      272.40   $339,546.60
                                                                   $1,048.50       68.30    $71,612.55
Joseph Reed              Associate         2018          2018
                                                                   $1,174.50       18.30    $21,493.35
Shane Grannum            Associate         2019          2018      $1,152.00       64.00    $73,728.00
Amy Chyao                Associate         2020          2019      $1,152.00      184.00   $211,968.00
Christine J. Chen        Associate         2019          2018      $1,048.50        0.70       $733.95
Samuel Seneczko          Associate         2019          2019        $985.50      782.90   $771,547.95
                                                                     $904.50      626.70   $566,850.15
Olivia Yeffet            Associate         2020          2020
                                                                   $1,075.50      615.80   $662,292.90




                                                  -7-
                     Case 22-11068-KBO   Doc 29196      Filed 01/10/25   Page 8 of 21




                                                    Year of                     Total
                                          Year of                   Hourly                  Total
   Timekeeper Name          Position               Law School                   Hours
                                         Admission                   Rate                Compensation
                                                   Graduation                   Billed
                                                                     $904.50     398.20    $360,171.90
Natalie Huh              Associate         2021          2020
                                                                   $1,075.50     110.50    $118,842.75
                                                                     $904.50       89.50    $80,952.75
Cameron Kelly            Associate         2020          2020
                                                                   $1,075.50       73.70    $79,264.35
Sara Turk                Associate         2021          2020        $904.50       69.30    $62,681.85
                                                                     $904.50     259.30    $234,536.85
Kelsey Sullivan          Associate         2021          2020
                                                                   $1,075.50     166.90    $179,500.95
Reece Pelley             Associate         2021          2020        $904.50     171.30    $154,940.85
                                                                     $904.50     119.60    $108,178.20
Zane Muller              Associate         2022          2020
                                                                   $1,075.50       70.00    $75,285.00
                                                                     $841.50     141.00    $118,651.50
Jeffery Arnier           Associate         2021          2021
                                                                     $985.50        6.30     $6,208.65
John Super               Associate         2021          2020        $904.50        9.50     $8,592.75
                                                                     $985.50     553.50    $545,474.25
Brenna Ledvora           Associate         2021          2021
                                                                   $1,174.50       78.00    $91,611.00
                                                                     $841.50     295.60    $248,747.40
Sydney Snower            Associate         2022          2021        $985.50     402.80    $396,959.40
                                                                   $1,174.50        0.40       $469.80
                                                                     $841.50     198.20    $166,785.30
Tanmayi Sharma           Associate         2022          2021        $985.50        9.70     $9,559.35
                                                                   $1,174.50        0.30       $352.35
                                                                     $747.00     167.80    $125,346.60
Destiny Rose Murphy      Associate         2023          2022
                                                                     $891.00       64.20    $57,202.20
Shavonne Teo             Associate         2022          2021        $985.50       91.40    $90,074.70
                                                                     $841.50     178.50    $150,207.75
Kiersten Whitfield       Associate         2022          2022        $985.50     120.90    $119,146.95
                                                                   $1,174.50        1.60     $1,879.20
                                                                     $841.50     113.80     $95,762.70
Mark Fuchs               Associate         2023          2022
                                                                     $985.50     139.30    $137,280.15
                                                                     $747.00     146.00    $109,062.00
Jeffrey Boxer            Associate         2022          2022
                                                                     $891.00     388.90    $346,509.90
Jacob Denz               Associate         2021          2021        $985.50     180.40    $177,784.20
James Bailey             Associate         2021          2019        $936.00       14.20    $13,291.20
                         Law Clerk                                   $508.50     593.20    $301,642.20
Jack Robbins                               2023          2022        $747.00     220.40    $164,638.80
                         Associate
                                                                     $891.00     322.10    $286,991.10
                                                                     $747.00     243.40    $181,819.80
Ben Carroll              Associate         2023          2022        $891.00     739.10    $658,538.10
                                                                   $1,075.50       69.70    $74,962.35




                                                  -8-
                    Case 22-11068-KBO   Doc 29196      Filed 01/10/25   Page 9 of 21




                                                   Year of                     Total
                                         Year of                   Hourly                  Total
  Timekeeper Name          Position               Law School                   Hours
                                        Admission                   Rate                Compensation
                                                  Graduation                   Billed
                        Law Clerk                                   $508.50     409.90    $208,434.15
                                                                    $747.00       37.20    $27,788.40
Elijah Turner                             2023          2022
                        Associate                                   $891.00     495.60    $441,579.60
                                                                  $1,075.50        5.00     $5,377.50
                        Law Clerk                                   $508.50     249.70    $126,972.45
Jonathan Abrams                           2023          2022        $891.00     416.10    $370,745.10
                        Associate
                                                                  $1,075.50       21.20    $22,800.60
                                                                    $747.00     499.30    $372,977.10
Angela Nelson           Associate         2022          2022
                                                                    $891.00     207.40    $184,793.40
                                                                    $747.00     478.70    $357,588.90
Michael Wittmann        Associate         2023          2022        $891.00     145.80    $129,907.80
                                                                  $1,075.50       18.30    $19,681.65
Adelyn Curran           Associate         2022          2022        $747.00     144.30    $107,792.10
                        Law Clerk                                   $508.50     757.10    $384,985.35
Cara Mund                                 2022          2022        $792.00     115.00     $91,080.00
                        Associate
                                                                    $891.00       77.10    $68,696.10
                                                                    $747.00     221.20    $165,236.40
Marissa Smith           Associate         2023          2022
                                                                    $891.00     185.60    $165,369.60
                        Law Clerk                                   $508.50       78.40    $39,866.40
Gavin Coyle                               2023          2022        $747.00       71.90    $53,709.30
                        Associate
                                                                    $891.00     269.70    $240,302.70
                        Law Clerk                                   $544.50       57.70    $31,417.65
Yanai Ben Gigi                            2023          2022
                        Associate                                   $891.00     221.90    $197,712.90
                        Law Clerk                                   $508.50       64.20    $32,645.70
Arielle Gerber                            2023          2022        $747.00     322.40    $240,832.80
                        Associate
                                                                    $891.00     187.70    $167,240.70
Alec Bahramipour        Law Clerk         2023          2022        $508.50     348.00    $176,958.00
Rachel Harrington       Law Clerk         2024          2023        $544.50     225.30    $122,675.85
                                                                    $508.50        7.10     $3,610.35
Alfonso Sanchez-Eguibar Law Clerk         2024          2023
                                                                    $544.50       42.90    $23,359.05
                        Law Clerk                                   $544.50     202.50    $110,261.25
Grace Heinerikson                         2024          2023        $792.00       79.60    $63,043.20
                        Associate
                                                                    $954.00        1.70     $1,621.80
                        Law Clerk                                   $544.50     811.00    $441,589.50
Johnston Hill                             2024          2023        $792.00       86.60    $68,587.20
                        Associate
                                                                    $954.00        8.00     $7,632.00
                        Law Clerk                                   $544.50     331.30    $180,392.85
Carla Neye                                2024          2023
                        Associate                                   $792.00        2.70     $2,138.40
Taylor Ross             Law Clerk         2024          2023        $544.50     397.10    $216,220.95
                        Law Clerk                                   $544.50     288.30    $156,979.35
Michael Quinan                            2023          2023
                        Associate                                   $792.00       27.40    $21,700.80




                                                 -9-
                   Case 22-11068-KBO      Doc 29196       Filed 01/10/25     Page 10 of 21




                                                     Year of                          Total
                                           Year of                     Hourly                      Total
   Timekeeper Name          Position                Law School                        Hours
                                          Admission                     Rate                   Compensation
                                                    Graduation                        Billed
                         Law Clerk                                         $544.50      130.80     $71,220.60
Nash Santhanam                              2024           2023
                         Associate                                         $792.00      132.50    $104,940.00
                         Law Clerk                                         $544.50      268.10    $145,980.45
Brendan Ferguson                            2024           2023            $792.00       56.80     $44,985.60
                         Associate
                                                                           $954.00        0.60        $572.40
Liam Murphy              Law Clerk           -             2022            $508.50        5.30      $2,695.05
                         Law Clerk                                         $544.50      107.00     $58,261.50
Jillian Farley                              2024           2023
                         Associate                                         $792.00       10.40      $8,236.80
                         Law Clerk                                         $544.50       75.10     $40,891.95
Erin Simmonds                               2023           2023
                         Associate                                         $792.00        9.00      $7,128.00
                         Law Clerk                                         $508.50      123.90     $63,003.15
Mary Trainor                                2023           2022            $747.00      153.10    $114,365.70
                         Associate
                                                                           $891.00       15.30     $13,632.30
                         Law Clerk                                         $508.50       52.60     $26,747.10
Seth Rosenberg                              2023           2022
                         Associate                                         $747.00      382.40    $285,652.80
                                                                           $747.00       12.40      $9,262.80
Julian Schoen            Associate          2022           2022
                                                                           $891.00       43.40     $38,669.40
                                                                           $445.50        1.10        $490.05
Todd Riegler             Attorney           2002           2001
                                                                           $481.50        1.10        $529.65
John Volpe               Attorney           1988           1987            $445.50       82.60     $36,798.30
Alanna D. Martin         Attorney           2006           2004            $445.50       60.30     $26,863.65
Marika Szczech           Attorney           2009           2008            $445.50       21.50      $9,578.25
Associate, Law Clerk, & Attorney Total                                               30,239.60 $27,214,478.55
Lawyers Total                                                                        45,367.80 $49,593,058.65
Barbara J. Howell        Paralegal           -               -             $432.00        5.00      $2,160.00
                                                                           $432.00       53.70     $23,198.40
Connie Kim               Paralegal           -               -             $463.50        8.90      $4,125.15
                                                                           $535.50        3.10      $1,660.05
                                                                           $432.00        0.90        $388.80
Michael Guerrero         Paralegal           -               -
                                                                           $463.50       17.10      $7,925.85
Maeve Anderson           Paralegal           -               -             $463.50       19.60      $9,084.60
Michael Alvarez          Paralegal           -               -             $463.50       10.70      $4,959.45
Rubab Hyder              Paralegal           -               -             $432.00        2.00        $864.00
Scott Freedberg          Paralegal           -               -             $463.50        2.50      $1,158.75
                                                                           $643.50       12.90      $8,301.15
Olga Garcia              Sr. Paralegal       -               -
                                                                           $688.50        2.90      $1,996.65
                         Graphics
Dave Scholz                                  -               -             $432.00       5.10       $2,203.20
                         Coordinator
Jonathan Land            Litig. Support      -               -             $328.50      10.70       $3,514.95
Konstantin Dementiev     Litig. Support      -               -             $157.50      17.60       $2,772.00
Ho Man Chan              Litig. Support      -               -             $157.50       0.80         $126.00




                                                   -10-
                  Case 22-11068-KBO         Doc 29196      Filed 01/10/25     Page 11 of 21




                                                      Year of                          Total
                                            Year of                     Hourly                      Total
  Timekeeper Name           Position                 Law School                        Hours
                                           Admission                     Rate                   Compensation
                                                     Graduation                        Billed
                                                                            $157.50       11.30      $1,779.75
Joe Liao                Litig. Support          -             -
                                                                            $171.00        0.50         $85.50
Non-Legal Personnel Total                                                                185.30     $76,304.25
50% Non-Working Travel                                                                             -$82,650.61
GRAND TOTAL                                                                           45,553.10 $49,586,712.29

                                       Blended Hourly Rate: $1,088.55




                                                    -11-
             Case 22-11068-KBO         Doc 29196        Filed 01/10/25   Page 12 of 21




             SUMMARY OF COMPENSATION BY PROJECT CATEGORY 1
          (NOVEMBER 13, 2022 THROUGH AND INCLUDING OCTOBER 8, 2024)

                     Project Name                                           Hours       Fee Amount
ASSET ANALYSIS AND RECOVERY                                                7,483.00     $8,522,854.65
AVOIDANCE ACTION ANALYSIS                                                  3,603.50     $4,093,290.90
BANKRUPTCY LITIGATION                                                      5,872.00     $7,181,801.55
BOARD / CORPORATE GOVERNANCE                                                 749.80     $1,143,948.60
CASE ADMINISTRATION                                                          377.20       $465,615.00
EMPLOYMENT AND FEE APPLICATIONS                                            1,235.40     $1,566,585.00
PLAN AND DISCLOSURE STATEMENT                                                131.80       $228,927.15
INVESTIGATION                                                             19,989.20    $19,148,731.65
GRAYSCALE LITIGATION                                                         456.20       $557,823.15
BAHAMAS LITIGATION                                                         2,849.70     $3,413,566.35
FRIEDBERG LITIGATION                                                       1,257.10     $1,368,371.70
BANKMAN/FRIED LITIGATION                                                     254.90       $249,167.70
EMBED/ROCKET LITIGATION                                                       97.40       $132,799.50
EXAMINER                                                                     803.40     $1,043,736.75
MDL                                                                          283.30       $386,842.05
NON-WORKING TRAVEL                                                           109.20       $165,301.20
50% NON-WORKING TRAVEL                                                                    -$82,650.61
TOTAL                                                                     45,553.10    $49,586,712.29




  1
      The subject matter of certain time entries may be appropriate for more than one project
      category. In such instances, time entries generally have been included in the most appropriate
      category. Time entries do not appear in more than one category.



                                                 -12-
             Case 22-11068-KBO        Doc 29196        Filed 01/10/25   Page 13 of 21




                EXPENSE SUMMARY FOR THE FINAL FEE PERIOD
          (NOVEMBER 13, 2022 THROUGH AND INCLUDING OCTOBER 8, 2024)

                                   Disbursement Summary
              Expense Category           Service Provider, 1 if Applicable          Amount
    Lexis Courtlink                     Lexis                                          $817.32
    Attorney Service                                                                    $59.13
    Photocopying                                                                        $22.50
    Outside Record Production                                                           $34.50
    Express Mail                                                                       $276.28
    Transcripts                                                                        $405.62
    Filing Fee                                                                          $73.30
    Online Research                                                                  $8,512.00
    Legal Research                                                                     $510.00
    Delivery/Courier                                                                   $392.25
    Messenger                                                                          $534.50
    Document Reproduction ($.10/page)                                                $4,078.00
    Color Document Reproduction
                                                                                         $867.25
    ($.25/page)
    Color Document Reproduction
                                                                                        $2,782.40
    ($.40/page)
    Corporate search                                                                     $25.18
    Velobind                                                                             $92.30
    Service of Process                                                                $7,199.08
    Document Services                                                                $23,591.07
    Document Hyperlinking Service                                                       $637.50
    Tabs                                                                                 $14.25
    Travel and Expenses                                                              $32,157.09
    Local meals                                                                       $1,100.60
    Other                                                                               $203.20
                                                                  TOTAL              $84,385.32




1
      Quinn Emanuel may use one or more service providers. The service providers identified herein
      are the primary service providers for the categories described.



                                                -13-
           Case 22-11068-KBO        Doc 29196        Filed 01/10/25   Page 14 of 21




        CUSTOMARY AND COMPARABLE COMPENSATION DISCLOSURES
       (NOVEMBER 13, 2022 THROUGH AND INCLUDING OCTOBER 8, 2024)

        Category of
                                                 Blended Hourly Rate
        Timekeeper
                                                              Billed to Debtors November
                             Billed Firm-wide for Fiscal
                                                             13, 2022 through and including
                                  Year (FY 2024) 1
                                                                    October 8, 2024
          Partner                    $1,671.18                          $1,583.30
          Counsel                    $1,433.22                          $1,256.90
         Associate                   $1,134.20                           $899.96
      Paraprofessional                $488.62                            $411.79
        Aggregated                   $1,181.80                          $1,088.55




1
    The amounts in this column reflect the blended rate for all timekeepers at Quinn Emanuel in
    the firm’s U.S. offices.



                                              -14-
            Case 22-11068-KBO        Doc 29196      Filed 01/10/25     Page 15 of 21




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

FTX TRADING LTD., et al., 1                         Case No. 22-11068 (JTD)

         Debtors.                                   (Jointly Administered)

                                                    Hearing Date: April 17, 2025 at 10:00 a.m. (ET)
                                                    Objection Deadline: January 31, 2025 at 4:00 p.m. (ET)

                        FINAL FEE APPLICATION OF
    QUINN EMANUEL URQUHART & SULLIVAN, LLP FOR SERVICES RENDERED
         AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
        NOVEMBER 13, 2022 THROUGH AND INCLUDING OCTOBER 8, 2024

         Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”), special counsel to FTX

Trading Ltd. and its affiliated debtors and debtors-in-possession in the above-captioned cases

(collectively the “Debtors”), hereby submits this Final Fee Application of Quinn Emanuel

Urquhart & Sullivan, LLP for Services Rendered and Reimbursement of Expenses for the Period

from November 13, 2022 Through and Including October 8, 2024 (the “Final Fee Application”)

for final allowance of compensation for professional services rendered and reimbursement of

expenses incurred for the period from November 13, 2022 through and including October 8, 2024

(the “Final Fee Period”). In support of the Final Fee Application, Quinn Emanuel respectfully

states as follows:




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these
    Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s,
    Antigua and Barbuda.
             Case 22-11068-KBO       Doc 29196       Filed 01/10/25    Page 16 of 21




                                          Background

       1.      On November 11 and November 14, 2022, 2 the Debtors filed voluntary chapter 11

petitions for relief. The Debtors continue to operate their businesses and manage their properties

as debtors-in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108.              Joint

administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the Court by entry

of an order on November 22, 2022 [D.I. 128]. On December 15, 2022, the Office of the United

States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an Official Committee

of Unsecured Creditors (the “Committee”) pursuant to Bankruptcy Code section 1102 [D.I. 231].

       2.      On January 9, 2023, the Court entered the Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the “Interim

Compensation Order”).

       3.      On January 20, 2023, the Court entered the Order Authorizing the Retention and

Employment of Quinn Emanuel Urquhart & Sullivan, LLP as Special Counsel for the Debtors and

Debtors in Possession, Nunc Pro Tunc to November 13, 2022 [D.I. 548], authorizing the retention

and employment of Quinn Emanuel as the Debtors’ special counsel, nunc pro tunc to November

13, 2022.

       4.      On March 8, 2023, the Court entered the Order (I) Appointing Fee Examiner and

(II) Establishing Procedures for Consideration of Requested Fee Compensation and

Reimbursement of Expenses [D.I. 834] appointing Katherine Stadler (the “Fee Examiner”) to serve

as the fee examiner in these Chapter 11 Cases and establishing certain procedures in connection

therewith.



2
    November 11, 2022 is the petition date for all Debtors, except for Debtor West Realm Shires
    Inc.



                                               -2-
            Case 22-11068-KBO         Doc 29196          Filed 01/10/25   Page 17 of 21




       5.      In accordance with the Interim Compensation Order, Quinn Emanuel filed twenty-

three monthly fee applications [D.I. 644, 813, 1241, 1399, 1574, 1827, 2102, 2445, 2772, 3628,

4209, 5119, 6868, 8309, 10727, 12928, 16374, 19618, 22098, 24023, 26049, 27478, 27971]

(collectively the “Monthly Fee Applications”) and eight interim fee applications [D.I. 1117, 1648,

2531, 4850, 9543, 17694, 24754, 28847] (collectively the “Interim Fee Applications” and, together

with the Monthly Fee Applications, the “Quinn Emanuel Fee Applications”) over the course of

these Chapter 11 Cases. The Quinn Emanuel Fee Applications and all exhibits and attachments

thereto are incorporated herein by reference. 3

       6.      On October 8, 2024, the Court entered the Findings of Fact, Conclusions of Law

and Order Confirming the Second Amended Joint Chapter 11 Plan of Reorganization of FTX

Trading Ltd. and Its Debtor Affiliates [D.I. 26404] (the “Confirmation Order”) confirming the

Second Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its Debtor

Affiliates (the “Plan”). The Plan sets forth the procedures for final requests for payment of

Professional Fee Claims (as defined therein).

       7.      On January 3, 2025, the Plan went effective. See [D.I. 29127].

                                           Jurisdiction

       8.      The Court has jurisdiction to consider this Final Fee Application pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012. This matter is a core

proceeding pursuant to 28 U.S.C. § 157(b).              Venue is proper in the Court pursuant to



3
    Due to the voluminous nature thereof, the Quinn Emanuel Fee Applications are not attached
    hereto. They may be obtained free of charge upon written request to the undersigned counsel
    or on the website maintained by the Debtors’ claims and noticing agent at
    https://restructuring.ra.kroll.com/FTX.



                                                  -3-
             Case 22-11068-KBO        Doc 29196        Filed 01/10/25    Page 18 of 21




28 U.S.C. §§ 1408 and 1409. Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry

of a final order or judgment by the Court in connection with this Final Fee Application to the extent

it is later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments consistent with Article III of the United States Constitution.

                                         Relief Requested

       9.      By this Final Fee Application and in accordance with the Interim Compensation

Order, Quinn Emanuel makes this application for final allowance and payment as an administrative

expense of the Debtors’ estates of compensation in the amount of $49,586,712.29 for reasonable

and necessary professional services rendered and $84,385.32 for actual and necessary expenses

incurred over the course of these Chapter 11 Cases.

       10.     As the Debtors’ special counsel, Quinn Emanuel has not been providing routine

chapter 11 services.      Rather, it has been tasked with specialized, complex litigation and

investigatory roles, including investigating, analyzing, and prosecuting significant claims for the

benefit of the estates.    Quinn Emanuel thus has been required to utilize some of its most

experienced attorneys to provide the highest quality representation for the Debtors and to respond

to various urgent needs to protect and maximize the value of the estates. Quinn Emanuel has and

will continue to minimize duplication with the Debtors’ other counsel.

                                    Compensation Requested

       11.     The services performed by Quinn Emanuel during the Final Fee Period included,

among others, asset analysis and recovery, avoidance action analysis, bankruptcy litigation, board

of directors and corporate governance, investigations, and general case administration.

       12.     Attached to each of the Monthly Fee Applications as Exhibit A is a detailed

itemization, by project category, of all services performed by Quinn Emanuel with respect to the




                                                 -4-
              Case 22-11068-KBO         Doc 29196         Filed 01/10/25     Page 19 of 21




Chapter 11 Cases during the applicable monthly fee period. This detailed itemization complies

with Local Rule 2016-2 in that each time entry (i) contains a separate time allotment, (ii) contains

a description of the type of activity and the subject matter of the activity, (iii) is billed in increments

of one-tenth (1/10) of an hour, (iv) is presented chronologically in categories, and (v) individually

identifies all meetings or hearings.

        13.     The timekeepers who rendered services related to each category are identified in

Exhibit A to each of the Monthly Fee Applications, along with the number of hours for each

individual and the total compensation sought by each category. All services for which Quinn

Emanuel requests compensation were performed for, or on behalf of, the Debtors.

                                       Expense Reimbursement

        14.     Quinn Emanuel incurred out-of-pocket expenses during the Final Fee Period in the

amount of $84,385.32. Attached to each of the Monthly Fee Applications as Exhibit B is a

description of the expenses actually incurred by Quinn Emanuel in the performance of services

rendered as Special Counsel to the Debtors over the course of these Chapter 11 Cases. The

expenses are broken down into categories of charges, which may include, among other things, the

following charges: photocopying, printing, outgoing facsimiles, document retrieval, postage, third-

party conference calls, messenger service, transcripts, computerized legal research, filing fees,

working meals, secretarial overtime, and other expenses.

        15.     In accordance with section 330 of the Bankruptcy Code, Quinn Emanuel seeks

reimbursement only for the actual cost of such expenses to Quinn Emanuel. Quinn Emanuel

submits that all such expenses incurred were customary, necessary, and related to the Chapter 11

Cases and, by this Final Fee Application, requests reimbursement of the same.




                                                    -5-
             Case 22-11068-KBO        Doc 29196        Filed 01/10/25   Page 20 of 21




                                      Valuation of Services

       16.     Professionals of Quinn Emanuel have expended a total of 45,553.1 hours in

connection with services rendered in these Chapter 11 Cases during the Final Fee Period.

       17.     The amount of time spent by each of the professionals providing services to the

Debtors for the Final Fee Period is set forth in detail in each of the Monthly Fee Applications as

Exhibit A. The rates are Quinn Emanuel’s normal hourly rates of compensation for work of this

character, discounted by 10%.

       18.     The reasonable value of the services rendered by Quinn Emanuel for the Final Fee

Period as Special Counsel for the Debtors in these Chapter 11 Cases is $49,586,712.29.

       19.     Quinn Emanuel believes that the time entries included in Exhibit A and the expense

breakdown set forth in Exhibit B attached to each of the Monthly Fee Applications are in

compliance with the requirements of Local Rule 2016-2.

       20.     In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

the amount requested is fair and reasonable given the complexities of these Chapter 11 Cases, the

time expended, the nature and extent of the services rendered, the value of such services, and the

costs of comparable services other than in a case under this title.

                             Certificate of Compliance and Waiver

       21.     The undersigned representative of Quinn Emanuel certifies that he has reviewed

the requirements of Local Rule 2016-2 and that the Final Fee Application substantially complies

with such rule. To the extent that the Final Fee Application does not comply in all respects with

the requirements of Local Rule 2016-2, Quinn Emanuel believes that such deviations are not

material and respectfully requests that any such requirements be waived.




                                                 -6-
             Case 22-11068-KBO        Doc 29196        Filed 01/10/25      Page 21 of 21




                                  Notice and No Prior Request

       22.     Notice of this Final Fee Application has been provided to: (a) the U.S. Trustee;

(b) the Committee; (c) the Fee Examiner; and (d) all other parties required to be given notice in

the Interim Compensation Order. Quinn Emanuel submits that, in light of the nature of the relief

requested, no other or further notice need be provided.

       23.     No prior request for the relief sought in this Final Fee Application has been made

to this or any other Court.

                                            Conclusion

       WHEREFORE, Quinn Emanuel respectfully requests that the Court (a) approve the Final

Fee Application and (b) grant such further relief as is just and proper.



Dated: New York, New York                     /s/ Sascha N. Rand
       January 10, 2025                       Sascha N. Rand
                                              Partner, Quinn Emanuel Urquhart & Sullivan, LLP




                                                 -7-
